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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

JOHN Z. JOHNINSON, SR., et al.                                             PLAINTIFFS

v.                         CASE NO. 4:20-CV-01074-BSM

USA, et al.                                                             DEFENDANTS

                                        ORDER

      John Z. Johninson, Sr. was given thirty days to amend his complaint, Doc. No. 2, but

has failed to do so. His complaint is, therefore, dismissed without prejudice. Local Rule

5.5(c)(2). An in forma pauperis appeal would not be taken in good faith. 28 U.S.C. §

1915(a)(3).

      IT IS SO ORDERED this 5th day of November, 2020.



                                                  UNITED STATES DISTRICT JUDGE
